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UNITED sTATEsmsTRICT coURT LED
WESTERN DISTRICT 0F TEXAS C,_ERK APR 1 5 2003

A WES 1 U.s. Dls RlcT COURT
S NANTONIO DIVISION ny TERN D|ST§ |§ T op TEXAS
Samuel Kleiner,` ` U LERK

Plainlifj§ on behalf of
himself and all others
` similarly situated,

Civil Action No. 5:08cv218-RF

V.

Southwest Airlines Co.,

W°W?QO?W?QO¢QOOQOOWDW><»OOWD

Defendant.

FIRST AMENDED COMPLAINT

 

 

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Pursuant to Federal Rule of Civil Procedure 15(a)(1)(A), Plaintiff files this First
Amended Complaint as a matter of course before being served with a responsive
pleadings v 0

INTRODUCTION

1. Southwest Airlines violated federal air-safety regulations governing the
maintenance and operation of its Boeing 737 fleet and, as a result, gambled with the
welfare, safety, and lives of thousands of passengers, like Kleiner, to whom Southwest
had falsely warranted that travel on its aircraft complied with all federal air-safety
regulations, including those of the Federal Aviation Administration (FAA). Southwest’s
violations included failing to inspect for the same kinds of cracks in the fuselage that, in

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1988, resulted in an Aloha Airlines aircraft’s explosive decompression” in midair. See
Exhibit A (picture of the Aloha Airlines plane). They also included failing to repair
defective rudders and tail spindles, failing to repair damage from midair lightning strikes,
and otherwise failing to comply with the FAA’s so-called Airworthiness Directives and
With Southwest’s own FAA-approved Flight Operations Manual. Southwest’s repeated
violations of federal law were facilitated by its cozy relationship with certain FAA field
officials - a relationship recently revealed by two FAA whistleblowers and documented
by the preliminary results of ongoing investigations by then United States Offlce of
Special Counsel and the House Committee on Transportation and Infrastructure. See
Exhibit B (letter from the Office of Special Counsel to the Secretary of Transportation).

2. `Samuel Kleiner brings this action on behalf of everyone who purchased

flights from Southwest and who, within the past four years, was flown by Southwest on

an aircraft in violation of federal air-safety regulations or who currently holds a ticket for

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future travel on Southwest. Southwest violated federal law by flying aircraft in violation
of federal air-safety regulations, which, if obeyed, would have required that the aircraft
be grounded Southwest also thereby violated its express warranty, made repeatedly iri
its advertising and formalized in the Contract of Carriage that it incorporates in every
ticket it sells, that “[a]ll transportation is sold and all carriage is performed subject to
compliance with all applicable laws and governmental regulations, including those of the
U.S. Department of Transportation, the Federal Aviation Administration, and the
Transportation Security Administration, many of which are not specified herein but are
nonetheless binding on Carrier and all passengers.” See Exhibit C at para. 125
(Southwest Airlines Contract of Carriage); see also, e.g., Exhibit D (Southwest Airlines
Safety Commitment).

3. Kleiner and the class members were injured by Southwest’s breach of
express warranty in that the fair market value of the service they received, travel on an
unsafe or illegal aircraft, was less than the fair market value of the service as Southwest
warranted it, travel on a safe and legal aircraftl Had Southwest told Kleiner and the class
members that it was violating federal air-safety regulations, Kleiner and the class
members would not have flown Southwest at all. This reflects the distinct fact that the'
fair market value of what Southwest delivered, flights on unsafe or illegal aircraft, was
less than the value of what Southwest warranted it would deliver, flights on safe and legal

- aircraft Because Kleiner and the class members paid for flights on safe and legal
aircraft, the difference in fair market value between such flights and flights on unsafe or
illegal aircraft constitutes actual damages they suffered The precise amount of this

difference in value is ultimately a question of fact for the jury. See paras. 91-92, infra

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4. Southwest is defending itself in Congress and in the court of public
opinion by contending`that its passengers (and countless crew members and innocent
bystanders) were never really in danger because the federal air-safety regulations that
Southwest violated are not essential to safety. Southwest admits that it broke the law, but
claims that no one was thereby endangered In support of this claim, it offers the
testimony of Boeing, which credits Southwest with singlehandedly keeping its 737
production lines open, and a hired air-safety expert, Greg Feith. lronically, however,
Southwest also claims that it was behind one of the very airworthiness directives that it
admittedly violated, the directive requiring inspection for fuselage cracks. l Either
Southwest was wrong when it advocated this directive as a necessary safety measure to
be imposed on all operators of 737’s in light of the 1988 AlohaAirlines midair explosion,
or Southwest is wrong now, when, in the face of a congressional investigation and a
month and a half of bad publicity, it claims that its own violations of this directive put no
one at risk. Regardless, it is crystal clear that Southwest flew aircraft that, had Southwest
obeyed the FAA’s safety regulations, could not legally have been flown and would have
been grounded

5. Southwest’s rhetorical defense should be rejected for a reason at least as
old in the law as Lord Coke’s rejection of the English physicians’ guild’s deciding a case
between itself and its member, Dr. Bonham: “quia aliquis non debet esse Jua’ex in
propria causa, imo iniquum est aliquem sui rei esse judicem.” See, e.g., Brooks v.
Dretke, 444 F.3d 328 (5th Cir. 2006) (citing Coke’s decision: “Dr. Bonham’s Case, 77
` Eng. Rep. 646, 652 (C.P. 1610) (Coke, iJ.) (stating that no man shall be a judge in his own
cause))”). The FAA _ not Southwest or any other airline it regulates _ is the proper

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judge of whether a violation of its regulations should result in grounding an aircraft
When Southwest decided to roll the dice by flying aircraft in violation of federal air-
safety regulations, it replaced the FAA with itself as judge of air safety; and, in its
usurped role, Southwest traded off passengers’ interest in air safety with its own interest
in maximizing profits.

6. Southwest’s violation is compounded by the fact that it expressly
warranted its compliance with federal air~safety regulations to its passengers and made its

, until-now-exceptional safety record a centerpiece of its marketing campaign There is a

big difference between a promise to abide by the air-safety rulings of a neutral arbiter
charged with protecting the public - the FAA - and a promise to conduct whatever
safety measures seem appropriate (or convenient or expedient) at the moment Southwest
chose and touted the first promise, and reaped a harvest of paying passengers as a result;
it should not now be able to avoid enforcement of this promise by slipping in the second
one instead Plaintiffs seek only to enforce S-outhwestis promise to its passengers

7. No doubt, Southwest will protest to this Court that this lawsuit is
somehow inappropriate or unwarranted merely because the thousands of passengers
whose safety and lives were the subject of Southwest’s illicit wager were lucky enough to
have landed alive and unscathed. “No harm, no foul” will be the crux of Southwest’s
defense Properly understood, this “defense” is none at all, although it does articulate
precisely the reckless disregard for the safety and lives of Southwest’s passengers from
which this dispute was borne. v

8. That Kleiner and the class members have justiciable claims is axiomatic. _
Each purchased a ticket containing Southwest’s express warranty that transportation on

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its airline complied with all applicable safety laws and regulations Southwest violated
that warranty and, as a result, longstanding, fundamental principles of law entitle Kleiner
and the class members to recover, as their actual damages, the difference between the
value of the fully safety-compliant travel as warranted by Southwest and the travel
actually received _ flights on aircraft that should never have been allowed to depart at
all. That Kleiner and his fellow passengers were fortunate enough to escape personal
injuries - or worse - is wholly irrelevant to the actual, contractual damages they
suffered when they overpaid for travel on aircraft falsely warranted by Southwest to
comply with all safety regulations and laws. See paras. 87-93, infra (DAMAGES).

9. The issue before this Court is not “no harm, no foul.” To the contrary, the
issue before this Court really concerns whether Southwest can wager a clandestine bet on
the Safety and lives of its passengers, while simultaneously warranting to these
passengers afictional commitment to safety. If Southwest were to fly planes with
untrained pilots _ or with insufficient fuel _ or without life vests or other necessary
safety equipment - would it be entitled to keep the entire fare it charged its unwitting
passengers merely because, by luck or skill, Southwest managed to land them unscathed?
Thankfully, that is neither the law nor the agreement between Southwest and its
passengers, including Kleiner.

PARTIES

10. l Samuel Kleiner is a citizen of Arizona. He purchased travel on Flight
2949 departing from Chicago Midway (MDW) and arriving in Baltimore (BWI) on
Saturday, May 31, 2008, and on Flight 3662 departing from Baltimore (BWI) and
arriving at Chicago Midway (MDW) on Thursday, June 5, 2008. He purchased travel on

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and traveled on Flight 1394 departing from Washington Dulles UAD) and arriving in
Chicago Midway (MDW) on Thursday, November 29, 2007; Flight 3232 departing from
Chicago Midway (MDW) and arriving in Washington Dulles (IAD) on Sunday,
December 2, 2007; Flight 1013 departing from Tucson (TUS) and arriving in Baltimore
(BWI) on Monday, September 3, 2007; Flight 844 departing from Detroit (DTW) and
arriving in Chicago Midway (MDW) on Monday, August 13, 2007; Flight 2221 departing
from Chicago Midway (MDW) and arriving in Tucson (TUS) on Monday, August 13,
2007; and Flight 4290 departing from Chicago Midway (MDW) and arriving in
Washington Reagan (DCA) on Tuesday, June 5, 2007.

11. Southwest Airlines Co. is a publicly traded Texas corporation and may be
served at its principal place of business and corporate headquarters at 2702 Love Field
Drive, Dallas, Tex_as, or by serving its_registered agent for service of process, Corporation
Services Company d/b/a CSC _ lncorporating Service Company, 701 Brazos Street,
Austin, Texas 78701.

12. Counsel for Southwest, Vinson & Elkins, LLP, has agreed to accept
service on Southwest. Accordingly, this First Amended Complaint-is being served, along
with the Original Complaint, on Southwest through its counsel.

CLASS ALLEGATIONS

13. Kleiner brings this action on behalf of everyone who purchased flights
from Southwest and who, within the past four years, Was flown by Southwest on an
aircraft in violation of federal air-safety regulations or who currently holds a ticket for
' future travel on Southwest. This action satisfies the prerequisites of Rule 23(a)(l)~(4) for

maintenance as a class action. The class members include every passenger on at least

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61,242 flights _ the number of flights that Southwest flew in violation of just one FAA
Airworthiness Directive, which mandated inspections for fuselage cracks, see Exhibit D
(letter from the FAA to Southwest Airlines imposing fine) - and are therefore too
numerous for joinder. The information necessary to define the class with respect to
particular flights and hence to identify the class members, that is, the aircraft with respect
to which Southwest violated federal air-safety regulations and the routes on which
Southwest flew those aircraft, is uniquely in the possession and control of Southwest.
With this information, Kleiner will likely be able to define the class further. Kleiner’s
claims are typical, including because, like the class members, he flew Southwest while
Southwest was violating federal air~safety regulations Kleiner paid for his tickets in the
ordinary manner and is not otherwise distinguishable in any relevant way from all other
people who purchased tickets from Southwest and who Southwest flew on planes in
violation of federal air-safety regulations

14. Certification is appropriate under Rule 23(b)(l)(A), Rule 23(b)(2), and
Rule 23(b)(3). Whether the express warranty in Southwest’s Contract of Carriage
requires it to. comply with all applicable federal air-safety regulations is central to this
action. Because this Contract of Carriage is referred to and incorporated in all Southwest
tickets, inconsistent adjudications respecting this warranty would subject Southwest to
different standards of conduct for different passengers This problem is most acute with
respect to passengers on the same plane, Since Southwest must comply or not comply
with federal air-safety regulations on a plane-by-plane, not a passenger-by-passenger,
basis lt either inspects for fuselage cracks on a plane or it does not; it either repairs

lightning damage to a plane or it does not. Because Southwest’s actions necessarily

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affected large groups of passengers _ at a minimum, all passengers who' flew on a
particular plane _ Southwest acted on grounds that apply generally to the class
Moreover, many class members are repeat Southwest passengers who would consider
flying or who intend to fly Southwest in the filture. Accordingly, declaratory and
injunctive relief commanding Southwest to comply with all applicable federal air-safety
regulations is appropriate for the class as a whole.r

15. The class members’ claims turn on at least the following common
questions of fact and law: (1) the common question of fact whether Southwest violated
federal air-safety regulations (it did); (2) the common question of law whether the
language in paragraph 125 of Southwest’s Contract of Carriage constitutes an express
warranty that it is in compliance with all applicable federal air-safety regulations (it
does); (3) the common question of law whether Southwest’s violations of federal air-
safety regulations constitute breaches of this warranty (they do); (4) the common question
of law whether the difference between the fair market value of Southwest’s flights as
Southwestwarranted them, flights on safe and lawful aircraft, and the fair market value
of Southwest’s flights as Southwest delivered them, flights on unsafe or illegal aircraft,
constitutes actual damages to the class members resulting from this breach of warranty (it
does); and (5) the common question of fact what the amount of this difference in value is
(a question ultimately for the jury to decide, see paras. 91-93, infra (collecting cases)).

l6. A common concern in class actions that variance in state law undermines
the commonality of questions of law is not present in this case because the class members

seek only to enforce a contractual promise made by Southwest _ which they may do

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under the laws of every applicable state. As the Supreme Court, adopting the Solicitor
General’s argument, put it: \
Becagse cor_ltract law i_s not at its core giverse. nonuniform, and

confusing2 we see no large risk of nonuniform adjudication inherent in
“[s]tate-court enforcement of the terms of a uniform agreement prepared

by an airline and entered into with its passengers nationwide.”

American A`z'rlines v. Wolens, 513 U.S. 219, 233 n.8 (1995) (emphasis added); see also
Lyn-Lea Travel Corp. v. American Airlines, Inc., 283 F.3d 282, 289-90 (5th Cir. 2002)
(in aviation case, holding contract law, in particular, fraudulent inducement defense,
uniform). Moreover, complications arising from state-law statutory variance with regard
to product warranties (much less specialized statutes governing automotive or other
specialized warranties) do not arise in this case because Southwest sold a service: passage
on its supposedly safety-compliant aircraft See Hodges v. Delta Az`rlines, lnc., 44 F.3d
334, 336 (5th Cir. 1995) (en banc) (defining air transportation as a service).

17. Kleiner is an adequate class representative Kleiner has been personally
involved in investigating this case before and after filing his complaint Kleiner has
retained qualified class-action counsel.

JURISDlCTION AND VENUE

18. This Court has subject-matter jurisdiction over this action under the Class
Action Fairness Act, 28 U.S.C. § l332(d), because this is a class action, the plaintiff class
seeks more than $5 million in damages, and there is minimal diversity because there is
diversity between at least one class member and Southwest (for example, between
Kleiner, a citizen of -Arizona currently resident in Illinois, and Southwest, a Texas
corporation headquartered in Texas). This Court has personal jurisdiction over

Southwest because Southwest has pervasive and intentional business contacts in this
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district it sells tickets in this district; flies into, out of, and through this district; and has
employees in this district Venue is proper in this district under 28 U.S.C. § 1391
because Southwest resides in this district as resides is defined for purposes of § 1391, see
id. §§ 1391(a)(l), 1391(c) (corporate defendant resides in any district in which, if that
district were a state, the defendant would be subject to personal jurisdiction), and a
substantial part of the events and omissions involved took place here, see id. §
l391(a)(2).
STANDING

19. Kleiner has constitutional standing to assert his claim. “The requisite

j elements of Article-IIIy standing are well established: ‘A plaintiff must allege personal
injury fairly traceable to the defendant’s allegedly unlawful conduct and likely to be
redressed by the requested relief.”’ Hein v. Freedom F rom Religion Foundalion, lnc.,
127 S. Ct. 2553, 2562 (2007) (quoling Allen v. Wright, 468 U.S. 737, 751 (1984)).
Kleiner alleges a “personal” injury in that he paid for and Southwest promised him
services, namely, flights on safe and legal aircraft worth more than the services that
Southwest`delivered, namely, flights on unsafe and illegal aircraft Kleiner alleges that
the value of what Southwest delivered, flights on unsafe and illegal aircraft, was less than
the value of the consideration he paid Cf. Price v. Pinnacle Brana’s, Iric., 138 F.3d 602,
607 (5th Cir. 1998) (affirming dismissal of claim for want of injury under RICO because
the plaintiffs “[did] not allege that the value of the cards that they did receive is less than

the consideration paid”). l

20. ln a breach-of-warranty class action against General Motors, the Fifth
Circuit specifically held that this type of injury - injury stemming from the plaintiffs’

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“overpayment” because of “a difference between what they contracted for and what they
actually received” _ satisfies Article III’s standing requirement

Plaintiffs allege that each plaintiff suffered economic injury at the moment
she purchased a DeVille because each DeVille was defective . . .
Plaintiffs seek recovery for tl_ieir actual ecopomic harm (gg._1
overpayment loss in value, or loss of usefiilness) emanating from the
loss of their benefit of the bargain. Notably in this case, plaintiffs may
Mg claimLmder a coptract theorv based on the express and implied
Warranties they allege. Whether recovery for such a claim is permitted
under governing law is a separate question; it is sufficient for standing

purposes that the plaintiffs seek recovery for an economic harm that
thev allege they have si_lffered. See Parker v. District of Columbia, 478

F.3d 370, 377 (D.C. Cir. 2007) (“The Supreme Court has made clear that
when considering whether a plaintiff has Article III standing, a federal
court must assume arguendo the merits of his or her legal claim.” (citing
Warth v. Seldin, 422 U.S. 490, 401-02, 95 S. Ct. 2197, 45 L.Ed.2d 343
(1975))). We therefore conclude that plaintiffs have established a

concrete injury in fact and have standing to pursue this class action.
Cole v. General Motors Corp., 484 F.3d 717, 722~23 (5th Cir. 2007) (emphasis added).

21. The Fifth Circuit has expressly distinguished breach-of-warranty, benefit-
of-the-bargain claims like Kleiner’s, which do plead a constitutional injury, from those
product-defect claims that it has dismissed for want of injury sufficient to support
constitutional standing. ln Rivera v. Wyeth-Ayerst Laboratories, 283 F.3d 315 (5th Cir.
2002), the Fifth Circuit noted: v

The plaintiffs’ most plausible argument for finding they have suffered

“invasion of a legally protected interest” is their claim they were denied

“the benefit of the bargain” due to them under general, contract law type

principles The plaintiffs do not actually argue breach of contract _
likely a smart decision, given that there was no contract

Id. at 320. The Fifth Circuit expressly distinguished the contract-law theory on which
j Kleiner relies, breach of an express warranty made by the defendant directly to him, from
the tort-law product-defect theory on which the Rivera plaintiffs necessarily (since Wyeth

made no contractual warranty to them) relied Id. at 319-21. Rivera rejects only the
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latter theory, not the former one. »The Rivera plaintiffs lost because of a kind of contort
confusion: they brought a tort claim (product defect) without tort injuries (physical or
emotional harm) or, alternatively, had contract injuries (out-of-pocket overpayment or
benefit of the bargain) without a contract claim (breach of warranty). As the Fifth Circuit
put it:

The confusion arises from the plaintiffs’ attempt to recast their.product'

liability claim in the language of contract law. The wrongs they allege _

failure to warn and sale of a defective product _ are products liability

claims Yet, the damages they assert - benefit of the bargain, out of
pocket expenditures -- are contract law damages

Id. at 320. Kleiner avoids a similar confusion because he seeks contract-law damages,
namely, out-of-pocket overpayment and benefit of the bargain, on a well-recognized
contract-law claim, namely, breach of express warranty.

22. Kleiner’s injury is concrete, particularized and actual, not conjectural or.
hypothetical. The Supreme Court has defined the injury-in-fact requirement in the
abstract as .“an invasion of a legally protected interest which is (a) concrete and
particularized and (b) actual or imminent, not conjectural or'hypothetical.” Lujan v.
Deferiders of Wildlife, 504 U.S. 555, 560 (1992). Kleiner is suing for the injury that
Southwest caused him. Similarly, each class member is suing for the injury that
Southwest caused that class member. Kleiner’s and the class members’ injuries are
therefore concrete and particularized Kleiner’s injury occurred when Southwest
delivered flights on unsafe or illegal aircraft it was at that time and no later that
Southwest breached its warranty to provide safe and legal aircraft in compliance with

federal air-safety regulations Kleiner’s injury is therefore an actual injury and, since it

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happened with certainty, involves no conjecture or hypothesis The same is true for the
class members because their injuries~are just like Kleiner’s

23. Kleiner also satisfies the causation and redressibility standing
requirements Southwest directly caused Kleiner’s injury by warranting that its flights
were on safe and legal aircraft and delivering, instead, flights on unsafe or illegal aircraft;
therefore, Kleiner’s injury is fairly traceable to Southwest. Kleiner’s overpayment injury,
with respect to past flights, is a loss of money that can be cured by money damages; with
respect to future flights, declaratory or injunctive relief will cure Kleiner’s injury by
commanding Southwest to comply with federal air-safety regulations Kleiner’s injury is
therefore likely to be redressed by the relief he seeks Because Kleiner and the class
members all allege the same claim, namely, that Southwest breached its warranty of safe
and legal flights by delivering unsafe or illegal flights, the class members have
constitutional standing for the same reasons that Kleiner has constitutional standing.

NON-PREEMPTION

24. ' State remedies for Southwest’s violations of federal air-safety regulations
are not preempted by the Airline Deregulation Act because these remedies are remedies
for Southwest’s violations of federal air-safety regulations, not conflicting or
supplemental state regulations and are remedies for Southwest’s violations of a
contractual warranty that it imposed on itself, not for violation of extra-contractual
standards imposed on Southwest by the states Kleiner and the class members do not
attempt to impose any air-safety regulation on Southwest other than all existing federally
mandated regulations with which Southwest expressly warranted compliance Simply
put, had Southwest fully complied with existing air-safety regulations (it did not), neither

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Kleiner nor the class members would have a cognizable claim. The Airline Deregulation
Act contains two relevant provisions, presently codified as follows:

(b) Preemption - (1) Except as provided in this subsection, a State,
political subdivision of a State, or'political authority of at least 2 States
may not enact or enforce a law, regulation, or other provision having the
force and effect of law related to a price, route, or service of an air carrier
that may provide air transportation under this subpart

49 U.s.C. § 41713(b)(i).

(c) Additional remedies _ A remedy under this part is in addition to any
other remedies provided by law.

49 U.S.C. § 40120(c).

25. The class members’ claims for breach of warranty are not preempted
under § 41713(b)(1) because they are claims for breach,of an obligation that Southwest
placed on itself by entering into its Contract of Carriage. A state does not “enact or
enforce a law, regulation, or other provision having the force and effect of law” by
enforcing a contractual obligation assumed by an airline to its passengers _ no matter
the subject matter of that obligation As the Supreme Court put it: “We hold that the
ADA’s preemption prescription bars state-imposed regulation of air carriers, but allows
room for court enforcement of contract terms set by the parties themselves.” American
Airlines, Inc. v.` Wolens, 413 U.S. 219, 222 (1995). This is because contract terms are not
sensibly regarded as state regulation:

American maintains, and we agree, that “Congress could hardly have

intended to allow the States to hobble [competition for airline passengers]

through the application of restrictive state laws.” Brief for Petitioner 27.

We do 1_10t read the ADA's preemption clausel however, to shelter

airlines from suits alleging no violatioi_i of state-ir_r_i_posed obligations,

but seeking recovery solely for the airline's alleged breach of its owna

self-imposed undertakings. As persuasively argued by the United
States, terms and conditions airlines offer and passengers accept are

privately ordered obligatioi_rs “and thus do pot amoi_int to a State's
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‘enact|ment| or enforce|ment| lof| any law, rulea regulation, standard,t
or other provision having the force and effect of law’ within the

meaning of |§| 1305§a[jlj.” Brief for United States as Amicus Curiae 9.
Cf Ci`pollone v. Liggett Group, Iric., 505 U.S. 504, 526, 112 S.Ct 2608,
2612, 120 L.Ed.2d 407 (1992) (plurality opinion) (“[A] common-law
remedy for a contractual commitment voluntarily undertaken should not
be regarded as a ‘requirement imposed under State law’ within the
meaning of [Federal Cigarette Labeling and Advertising Act] § 5(b).”). A
remedy confined to a contract's terms simply holds parties to their
agreements _ in this instance, to business judgments an airline made
public about its rates and services

Ia'. at 228-29 (emphasis added).

26. The Supreme Court’s holding that the Airline Deregulation Act does not
preempt standards imposed by private contracts or state-law remedies for breach of such
standards is consistent with, and, in fact, necessary to effect, the Airline Deregulation
Act’s purpose of deregulating the airline industry and preventing7 by preemption, states
from re-regulating that industry:

The ADA, as we recognized in Morales, 504 U.S., at 378, 112 S.Ct, at

2034, was designed to promote “maximum reliance on competitive
m______arket forces ” 49 U. S. C. App § l302(a)(4) Market efficiency requires

effective means to enforce private agreements See Farber, Contract
Law and Modem Economic Theory, 78 Nw.U..L Rev. 303, 315 (1983)

(remedy for breach of contract “is necessary in order to ensure economic
efficiency”); R. Posner, Economic Analysis of Law 90-91 (4th ed. 1992)
(legal enforcement of contracts is more efficient than a purely voluntary
system). As stated by the United States; “The stability and efficiency of
the market depend fundamentally on the enforcement of agreements freely
made, based on needs perceived by the contracting parties at the time.”
Brief for United States as Amicus Curiae 23 That reality is key to
sensible construction of the ADA.

1a ar 230 (emphasis added).
27. The Fifth Circuit, writing unanimously through Chief Judge Jones, applied
Wolens to hold state breach-of-contract law not preempted by the Airline Deregulation

Act in Lyri-Lea Travel Corp. v. American Airlines, Inc., 283 F.3d 282 (5th Cir. 2002):

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In Wolens, the Court expanded upon ADA preemption as a device to
protect the deregulation of the airline industry by preventing “application
of restrictive state laws.” 513 U.S. at 228, 115 S.Ct. at 824. Nevertheless,
“the ADA's preemption clause [does not] shelter airlines from suits
alleging no violation of state-imposed obligations but seeking.recovery
solely for the airline's alleged breach of its own, self-imposed
undertakings.” Id. Lie ADA i_ioes i_iot preempt “stpt_e;law-based court
adjudication of routine breach-of-contract claims” so long as there is
“no enlargement or egancen_i_§_r_it lof t_he coptractl based on state laws
or policies external to the agreement.” Id. at 232-33, 115 S.Ct. at 826.

Id. at 287 (emphasis added). One basis for the Fifth Circuit’s decision was its
observation, shared by the Supreme Court, that “contract law is, at its ‘core,’ uniform and
non-diverse” so that “there is little risk of inconsistent state adjudication of contractual
obligations” - that is, by enforcing the common law of contract, states are not in a
meaningful sense reregulating airlines because they are not imposing their own state-
specific standards

When pleaded as a defense to a contract, fraudulent inducement is related
to the fundamental issue in contract actions i-s there an enforceable
agreement? A fraudulently induced party has not assented to an agreement
because the fraudulent conduct precludes the requisite mutual assent See
REsTArEMENr (SECoND) or CoNTRAcTs § 164 (1979). Fraudulent
inducement is an elementary concept in the law` of contracts, and is
intended to shield a party from liability in a contract action only when
another party has procured the alleged contract wrongfully. United States
v. Texarkana Trawlers, 846 F.2d 297, 304 (5th Cir.1988). The Court
reasoned in Wolens that because contract law is, at its “core,” uniform

and non-diverse, there is little risk of inconsistent state adjudication of
contractual obligations 513 U.S. at 219 n. 8, 115 S.Ct. at 826.

Fraudulent inducement is among those core concepts as it relates to
me validity of mutual assel_it. The defense does r_iot reflect a state

1 policy seeking to expand or enlarge the parties' agreement Therefore,
Lyn-Lea's fraudi_rlent indi_icemermiefense is not preempted by the
ADA.

 

ld. at 289-90 (emphasis added). Because the class members’ claims are based on

Southwest’s breaches of its own Contract of Carriage, which merely incorporates federal

19_

 

 

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air-safety regulations as direct contractual obligations they are not subject to Airline

Deregulation Act preemption
FACTs
I. Southwest Warranted That lt Was In Compliance With All Applicable
Federal Air-Safety Regulations

28. Southwest refers to and incorporates its Contract of Carriage in every
ticket, paper and electronic, that it sells Paragraph 125 of this Contract of Carriage is a
Warranty that Southwest is in compliance with and is bound by all applicable federal air-

safety regulations

125. Compliance with Law and Governmental Re'gulations (Issued Mar.
13, 2000; Effective Mar. 13, 2000)

All transportation is sold and all carriage is performed subject to
compliance with all applicable laws and governmental regulations
including those of the U.S. Department of Transportation, the Federal

` Aviation Administration, and the Transportation Security Administration,
many of which are not specified herein but are nonetheless binding on
Carrier and all passengers

Ex. C at 35 (Southwest Contract of Carriage).

29. Southwest repeats its commitment to safety and compliance with federal
air-safety regulations throughout its internal documents and its external marketing ln the
Southwest Airlines Safety Commitment posted on its web site, for example, Southwest
declares:

Safety is the very foundation of the aviation industry, and it must be

Southwest’s number one priority to ensure the personal Safety of each

Southwest Airlines Customer and Employee. . . .

0 All Southwest Airlines Employees, from Leadership to Frontline

Employees, are responsible for establishing the highest level of Safety

in our operation and workplace;

0 All Southwest Airlines Employees, from Leadership to Frontline
b 20

 

 

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Employees are responsible for compliance with all governmental

safety regulations and guidelines as well as Company policies and

procedures
Ex. D at 1. Southwest uses this safety commitment to distinguish itself from other
airlines This marketing strategy has been remarkably successful: last‘year, Southwest
flew more passengers than any other commercial carrier.

30. Paragraph 125 of the Contract of Carriage makes Southwest’s repeated
promises to its passengers more than empty words By extending to them an express
warranty of “compliance with all applicable laws and governmental regulations,”
Southwest gave its passengers a contract-law cause of action\in the event Southwest
failed to comply with federal air-safety regulations as it turns out Southwest has in fact
failed to do. In other words Southwest gave its passengers the power to enforce its

promise of safety. This, they here seek to do.

II. Southwest Repeatedly Violated Federal Airworthiness Directives And Other
Federal Air-Safety Regulations

31. Southwest breached its warranty by repeatedly violating federal

l airworthiness directives issued by the Federal Aviation Administration. “FAA's
airworthiness directives are legally enforceable rules that apply to the following products
aircraft, aircraft engines propellers and appliances.” `14 C.F.R. § 39.3. Airworthiness
directives are issued pursuant to the FAA’s authority under theAirline Deregulation Act:
“The Administrator of the Federal Aviation Administration shall promote safe flight of
civil aircraft in air commerce by prescribing . . . regulations and minimum standards in
the interest of safety for 4 (A) inspecting, servicing,and overhauling aircraft, aircraft
engines propellers and appliances (B) equipment and facilities for, and the timing and

manner of, the inspecting, servicing, and overhauling.” 49 U.S.C. § 44701(a). As the
21

 

 

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FAA, citing to 14 C.F.R. § 39.3, explains at the top of its airworthiness directives “You
are cautioned that no person may operate an aircraft to which an Airworthiness Directive '
applies except in accordance with the requirements of the Airworthiness Directive.” See,
e.g., Exhibit F (Airworthiness Directive). “Airworthiness Directives affect aviation
safety and are regulations which require immediate attention.” lot

32. “Airworthiness directives specify inspections you [the airline] must carry
out, conditions and limitations you must comply with, and any actions you must take to
resolve an unsafe condition.” 14 C.F.R. § 39.11. “An air carrier shall make, or cause to
` be made, any inspection, repair, or maintenance of equipment used in air transportation as
required by this part or regulations prescribed or orders issued by the Administrator of the
Federal Aviation Administration 4 under this pa .” 49 U.S.C. § 44713. “[A]n
airworthiness directive applies to each product identified in the airworthiness directive,
even if an individual product has been changed by modifying, altering, or repairing it in
the area addressed by the airworthiness directive.” 14 C.F.R. § 39.15. Current
airworthiness directives are collected in part 39 of title 14 of the Code of Federal
Regulations See 14 C.F.R. §§ 39.1 (“'fhe regulations in this part provide a legal
framework for FAA's system of Airworthiness Directives.”), 39.13 (“[A]irworthiness
directives are part of the Code of Federal Regulations but they are not codified in the
annual edition FAA publishes airworthiness directives in full in the Federal Register as
amendments to § 39.13.”).

33. “FAA issues an airworthiness directive addressing a product when we [the
FAA] find that: (a) An unsafe condition exists in the product; and (b) the Condition is
likely to exist or develop in other products of the same type design.” 14 C.F.R. § 39.5.

22

 

 

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“Anyone who operates a product that does not meet the requirements of an applicable
airworthiness directive is in violation of this section.” 14 C...FR § 39.7. “If the
requirements of an airworthiness directive have not been met you violate § 39.7 each
time you operate the aircraft.” 14 C.F.R. § 39.9. Although an airline may propose
alternative safety measures it may not use these measures instead of complying with an
airworthiness directive unless the FAA has approved the alternative in advance. See 14
C.F.R. §§ 39.19, 39.21. A violation of an airworthiness directive is a violation not only
of 14 C.F.R. § 39.7, but also of the United States Code: “A person may not . . . (5)
operate aircraft in air commerce in violation of a regulation prescribed or certificate
issued under section 44701(a) or (b) or any of sections 44702-44716 of this title.” 49
U.S.C. § 44711(a).

34. Southwest repeatedly violated federal air-safety regulations by flying
aircraft with damaged rudders or cracked fuselages and failing to inspect aircraft for these
problems The safety inspections and required maintenance that Southwest ignored were
mandated by the FAA after two fatal crashes and one fatal accident all involving Boeing
737’s _ the only type of aircraft that Southwest flies Southwest flew aircraft in
violation of federal air-safety regulations even after FAA inspectors and Southwest
managers were aware of the problems with Southwest’s aircraft Southwest deliberately
flew aircraft that under the FAA’s regulations were not airworthy and were required by
law to be grounded until fully compliant; in doing so, Southwest risked the lives of
thousands of passengers and breached its promise to them that it had complied with all

applicable federal air-safety regulations

23

 

 

 

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35. Airworthiness Directive (“AD”) 2004-18-06, attached as Exhibit F,
requires repetitive inspections to find fatigue cracking of certain upper and lower skin
panels of the fuselage, and follow-up and corrective actions if necessary. Last year alone,
46 Southwest jets made 61,242 flights before Southwest admitted that the aircraft were
30 months overdue for safety inspections of their fuselages as required by AD 2004-18-
06. Southwest finally reported this gross deficiency to the FAA. Even after Southwest
discovered the problem, however, it continued to fly the aircraft for eight days between
March 15, 2007 to March 23, 2007, and on 1,451 flights F ederal rules say the planes
should have been grounded immediately When Southwest finally inspected the planes
six of them were in fact found to have cracks in the fuselage.

36. Southwest’s Boeing 737’s can carry between 122 and 137 passengers per
flight Over the course of its deliberate violations of federal air-safety regulations
Southwest Airlines risked the lives of thousands upon thousands of men, women, and
children _ all passengers who contracted to fly Southwest aircraft believing Southwest’s
false warranty of safety and compliance With FAA AD’s; of course,v Southwest
endangered its own crew and countless third parties as well. Rather than expend the
time, effort and money on legitimate safety compliance, Southwest instead cut corners in
an effort to keep the airline out of trouble and maximize its own profits Southwest
performed the inspections it wanted to'perform on its own schedule and at its own
convenience Lax enforcement allowed Southwest to gamble with its passengers’ lives
AD-2004-18-06 is designed to protect passengers and crew from catastrophic aircraft

decompression. Southwest’s violation of AD-2004018-06 compliance failure is a gross

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breach of passenger safety, a clear violation of federal law _ and, hence, a clear
violation of Southwest’s express warranty to the contrary.

37 . ln response to pressure from the House Transportation and Infrastructure
Committee, including allegations that the FAA Was complicit in Southwest’s violations
of federal air-safety regulations the FAA assessed a $10.2 million civil penalty against
Southwest for the violations of airworthiness directives described above. According to
the FAA, the amount of the civil penalty reflects the serious nature of those deliberate
violations Southwest also chronically overflew a required rudder inspection The
inspection was meant to detect leakage in the standby rudder power control unit’s
hydraulic system _ part of the steering mechanism for affected aircraft Southwest’s
violation was undetected for more than a year and affected 70 aircraft Some aircraft
were over-flown by as much as 30 months Southwest self-disclosed this condition after
discovering the problem on March 19, 2007. Even after self-disclosing, however,
Southwest continued to fly the aircraft in passenger revenue service for nine days because
the airline lacked the “manpower and equipment” to comply with federal law.

38. Southwest’s violations of federal air-safety regulations were not limited to
violations of airworthiness directives A few examples here suffice to make the point
On February 8, 2005, Southwest flew an aircraft that was struck by lightning. After a
scheduled stop in Jackson, Mississippi, where the lightning strike was investigated the
aircraft landed at its next destination Baltimore/Washington Intemational Airport
(“BWI”). BWI is a maintenance base for Southwest Airlines The mechanic there
observed lightning damage and directed the aircraft be taken out of service. The captain
submitted a standard Southwest Airlines lrregularity Report (“IR”) about the incident

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He noted in the report that lightning-strike inspection procedures and training were
lacking and difficulty ascertaining damage was common at Southwest. The lead
mechanic in the maintenance supervision office at BWI encouraged the captain to make
this notation because of chronic problems with inspections Both circumstances are
violations of federal air-safety regulations

39. The captain’s chief pilot contacted him several weeks later about altering
the information submitted in his IR. The captain asked why there was an issue with the
report The chief told him that the lightning-damaged aircraft that was supposedly
grounded at BWI had flown approximately three more days without maintenancerepair.
The chief further advised the captain that the FAA was investigating the incident and
Southwest Airlines submitted the captain’s report as part of the investigation The
captain felt pressured by his chief to alter the report to exclude the critical language
regarding lightning-strike inspection procedures and training The captain refused to alter
the incident report because doing so would violate his legal and ethical obligations
regarding safety issues governed by Federal Aviation Regulations

40. Second, a different Southwest captain alleges that Southwest pressured
him to take off even though the runway did not meet minimum criteria for takeoff.
Specifically, he alleges that the runway was not at least fifty percent clear of ice and
snow, which is not in compliance with Southwest’s FAA-approved Flight Operations
Manual. This captain called his chief pilot and explained that the runway did meet the
'fifty-percent-cleared criterion The chief told him to take off anyway because others had
The chief pressured this captain to break FAA-approved Flight Operations Manual safety

rules

26

 

 

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41. Third, still another Southwest captain piloted an aircraft destined for
Providence (l’VD). En route, he determined that the wind was out of limits according to
the Flight Operations Manual, so the captain diverted the aircraft back to
Baltimore/Washington lnternational Airport (BWI). The wind was still out of limits
when he arrived, but the chief pilot on call contacted him and pressured him to continue
the flight Southwest pulled this captain and his first officer from the flight and replaced
them with a crew that would complete the flight

42. Fourth, multiple Southwest pilots have reported numerous incidents of
Southwest dispatch bending rules to circumvent federal air-safety regulations regarding
minimum weather requirements for landing. The regulations require that minimum
Weather standards must exist for plus/minus one hour. Dispatch merely rerouted flights
to increase their flight time to circumvent this rule. f

43. Fifth, a Southwest Captain and former Southwest Airlines Pilot
Association Safety Chairman reported a serious inspection lapse with older Boeing
aircraft used in passenger revenue service. This captain discovered that Southwest
decided not to inspect the last nine Boeing 73 7-200 series aircraft for a flap spindle issue.
Failure of one side of the mechanism creates an asymmetrical flap situation, which
creates adverse roll on the aircraft This adverse roll could very likely result in a loss of
control of the aircraft The mean time between failure (MTBF) of this mechanism is
listed at 16,000 hours and some of the nine affected aircraft were at 25,000 hours The
captain asserts that this was an accident waiting to happen After the initial maintenance
investigation Southwest Vice'President of Flight Gperations, Greg Crum, and Vice
President of Maintenance, Ben Sokol, told the captain that Southwest inspected all of the

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aircraft The captain suspected that this was untrue because the aircraft were due to be
taken out of service soon. The captain again conferred with the Union, and the Union
President advised him to take action The Union released an Air Safety Alert advising
the series-200 pilots not to fly the affected aircraft because of the fear of a likely crash.
The alert forced Southwest to inspect and repair the nine affected aircraft

44. What these incidents _ almost 62,000 admitted flights in violation of the
airworthiness directive governing inspection for cracked fuselages, 70 planes flown for
30 months past the required time for inspection of a critical steering component official
pressure on captains to violate federal air-safety regulations and falsify subsequent
reports to the FAA, failure to correct critical problems when detected, and conscious
efforts to circumvent applicable federal air-safety regulations _ have in common is a
cavalier attitude toward the federal air-safety regulations that Southwest is bound to obey
and that it warranted to its passengers it had fully complied with. As Nicholas Sabatini,

associate administrator of the FAA put it:

A total of 1,451 commercial operations Were conducted by Southwest

`Airlii_res ir_l violation of tl_re law, putting thousands of passengers at
M That this was done with the implicit consent of the FAA PMI
overseeing the carrier is beyond my comprehension I am also disturbed
that while the office manager began a review of this situation and asked
for support from our Southwest Region Flight Standards Office (Region),
it was not fully investigated until one of my front-line safety inspectors
reported it to the Administrator’s hotline and the DOT lG hotline.

O_nMarch 6, 2008, the FAA issued a $10.2 million proposed civil

penalty to Southwest Airlines for its decision to knowingly continue to
fly l_roncoippliant a_ircraft in comi_nercial operatior_is. Tl_r_i§ decision

was inexcusable and put its passengers at risk. . . . I cannot overstate
my disappointment a_nd. franl_dV, outrage and shock at tl_re actions of
Southwest Airlines

Statement of Nicholas Sabatini, attached as Exhibit G, at 4-5 (emphasis added).

28

 

 

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Additional detail to support these allegations will no doubt be discoverable; the facts
gathered to date, both by Kleiner and by the House Committee on Transportation and
Infrastructure and the United States Office of Special Counsel, are more than enough to
justify Kleiner’s complaint

III. Southwest’s Violations Were Not Merely Technical: Southwest Put
Passengers’ Lives At Risk

45. Airworthiness directives can be matters of life and death. In 1988,
fuselage cracks like those that Southwest failed to inspect for and that were in fact
present in Southwest planes caused a Boeing 737 to suffer explosive decompression in
midair. A large section of the roof and the entire top half of the plane’s skin from the
cockpit to the forewing were torn off. See Exhibit A (picture of airplane post-explosion).
Chief Flight Attendant Clarabell Lansing was ejected from the plane; later, investigators
found on the side of the plane the horrifying imprint of a head surrounded by blood

, stains; the tragic image became known as the “ghost imprint.”

46. ln 1994, rudder control problems like those that Southwest failed to
inspect for caused a Boeing 737 crash in Pittsburgh, Pennsylvania, killing 132 people.
Three yearsearlier, a United Airlines Boeing 737 crashed in Colorado Springs, Colorado,
killing 25 people. lnvestigators blamed both crashes on problems in the aircraft rudder-
control system, leading the FAA to demand regular checks of the 737’s rudder-control
system _ the checks that Southwest decided to skip.

47. The 1988 crash was a defining event in creating awareness of aging
aircraft in both the public domain and in the aviation community. The 119-year old Aloha

b Airlines Boeing 737-200, N73711, operated by Aloha as flight 243, experienced

explosive decompression and structural failure at 24,000 feet while en route from Hilo,
29

 

 

 

 

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Hawaii, to Honolulu, Hawaii. Approximately 18 feet of the cabin skin and structure aft of
the cabin entrance door and above the passenger floor line separated from the airplane
during flight There were 89 passengers and 6 crewmembers on board Lansing was
killed In addition, seven passengers and one flight attendant received serious injuries
The flight crew performed one of the most heart-stopping emergency descents and
landings of all time at Kahului Airport on Maui. The National Transportation Safety
Board (“NTSB”) traced the explosion to a small crack in the fuselage of the Boeing 737
_ the same kind of plane flown by Southwest and th`e same kind of crack that Southwest
ignored and covered up so regularly.

48. Southwest, which carries more passengers in the United States than any
other carrier, had not been following the maintenance schedule instituted by the FAA to
check for cracks According to the FAA, the infraction involved 46 737’s used on 61,242
revenue flights before the airline noticed that the planes Were 30 months overdue for

fuselage safety inspections Southwest eventually self-reported the mistake to the FAA.
Federal rules say the planes should have been immediately grounded, but even after
Southwest discovered the lapse, Southwest allowed several of the jets to continue flying.
When inspected, six of them actually had cracks of the sort that caused the Aloha
explosion

49. The Aloha aircraft had been in service for 19 years and had completed
tens of thousands of short-haul inter-island flights Repeated pressurization cycles
allowed fuselage cracks to propagate. Since then, airline maintenance procedures have
been revised to better monitor structural fatigue ~ including AD 18-2004-06, the
airworthiness directive that Southwest violated with respect to 61,242 flights Boeing

30

 

 

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and the FAA developed a careful schedule of inspections dependent on both total
airframe hours and number of takeoffs and landings or "cycles.”

50. Southwest’s 737s are newer on average than the "classic" model involved
in the Aloha mishap, but Southwest too specializes in shorter-haul flights - lots of them.
All airlines strive to keep their aircraft in the air as much as possible, but Southwest does
this while also maximizing cycles lt has one of the highest aircraft-utilization rates in
the industry, scheduling as little as 30 minutes between legs Because of the repeated
pressurization and depressurization this entails Southwest’s fleet runs a higher risk than
most of developing fatigue problems

51. In its report on the Aloha Airlines accident the NTSB determined that
“the probable cause of this accident was the failure of the Aloha Airlines maintenance
program to detect the presence of significant disbonding and fatigue damage which
ultimately led to failure of the lap joint at S-lOL and the separation of the fuselage upper
lobe (rapid decompression and loss of structural integrity of the plane).` Contributing to
the accident were the failure of Aloha Airlines management to supervise properly its
maintenance force; the failure of the FAA to require Airworthiness Directive 87-21-08
inspection of all the lap joints proposed by Boeing Alert Service Bulletin SB 737-
53A1039; and the lack of a complete terminating action (neither generated by Boeing nor
required by the FAA) after the discovery of early production difficulties in the B-737
cold bond lap joint which resulted in low bond durability, corrosion, and premature
fatigue cracking.” Aircrafr Accident Report Aloha Airlines, flight 243, Boeing 73 7-200,
N73 711, near Maui, Hawaii April 28, 1988 yNTSB Number AAR-89/03, NTIS Number
PBa9-91`0404, attached as Exhibit H.-

31

 

 

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52. NTSB incident reports generally state the specific safety issues raised in
each incident The fatal Aloha incident raised three: (l) The quality of air-carrier
maintenance programs and the FAA surveillance of these programs (2) the engineering
design, certification and continuing airworthiness of the`B-737 with particular emphasis
on multiple-site fatigue cracking of the fuselage lap joints; and (3) the human-factors
aspects of air-carrier maintenance and inspection for the continuing airworthiness of
transport-category airplanes including repair procedures and the training, certification
and qualification of mechanics and inspectors Recommendations concerning these
issues were addressed to the FAA, Aloha Airlines, and the Air Transport Association.
The FAA responded by mandating detailed inspections of Boeing 737s specifically for
fuselage cracks that can cause loss of structural integrity and explosive decompression in
midair.

53. When an airline discovers non-compliance with an airworthiness directive,
the airline may make a voluntary disclosure under the Voluntary Disclosure Reporting
Program (“VDRP”) in order to avoid certain penalties Advisory Circular 00-58A
provides the guidelines for the VDRP Under this Circular, entities which operate under
Title 14, such as airlines may voluntarily disclose violations to the FAA and receive a
letter of correction in lieu of a civil penalty. However, in order to avoid civil penalties
specific procedures must be followed with respect to the reported non-compliance After
self-disclosure, non-compliance with the airworthiness directive must cease as of the date
the non-compliance is discovered This includes termination of the operation of the

affected aircraft until the requirements of the airworthiness directive have been met.

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More importantly, the VDRP is a way to avoid regulatory fmes, not an excuse for the
earlier underlying failure to comply with the airworthiness directive

54. According to Chairman James Oberstar of the House Committee on
Transportation and Infrastructure, Southwest’s intentional and continuing safety
violations represent “the most serious lapse in safety at the FAA in_the past 23 years
Complacency may have set in at the highest levels of FAA management reflecting a
pendulum swing away from vigorous enforcement of compliance, toward a carrier-
favorable cozy relationship. Meanwhile more and more airline maintenance is being
outsourced with less FAA and airline involvement much of it at foreign repair stations.”
According to Senator Murray (D-WA), “These grotesque safety violations on the part of
Southwest Airlines are inexcusable, and so too are the actions of the FAA. While the
FAA is right to assess serious fines for these violations we need to ask serious questions
as to why it took the FAA so long to discover them. The taxpayers pay hundreds of
millions of dollars every year to employ thousands of inspectors to discover these
potential abuses before they occur. But in this case, it appears that our federal watchdog
knowingly looked the other way.”

55. Southwest did not engage in a few technical violations quickly cured
Southwest flew planes in violation of airworthiness directives and other federal air-safety
regulations that the FAA enacted in response to actual air-transport catastrophes.
Southwest put its passengers’ lives at risk as well as those of its crew and countless other b
third parties And it did so even after becoming aware of its safety violations in a
grossly misguided attempt to maximize profits at the expense of passenger safety. If
anything, Southwest’s claimed special knowledge of the hazards of cracked fuselages

33

 

 

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makes its violations of the relevant regulations even worse:

Southwest has grown to be the largest carrier of passengers in the world
with an all-Boeing fleet of over 500 737’s Southwest was the launch
customer for three models of the 737: the -300, -500, and -700. As the
airline of choice for 100 million people last year, and the largest 737
operator by far, Southwest has more experience with 737’s than any other
airline in the world

lronically, the very AD at issue in this investigation might not have
come about had it not been for Southwest’s vast experience and
expertise with the 737. The AD Was based on a Boeing Service

Bulleting. That Service Bulletin, in turn, was based in large part on a

pre-existing maintenance program developed by Southwest. lt was our
observations with respect to cracking of the “chemically-milled” 737 skin

panels on the Classic 737-300 and the 737-500, coupled,,with our own
rigorous inspection program (conducted four times as often as the AD
inspections), that were the genesis of the Boeing Service Bulleting and the
“Chem Mill” AD. ` 4

Ex. l at 2 (emphasis added). When it supposedly wrote the airworthiness directive that it
has since violated, Southwest concluded there was a safety problem to be addressed
Southwest’s recent denials of these problems in the face of a Congressional investigation
lack credibility

IV. Until Recently, Southwest Got Away' With Endangering Its Customers And
Others

56. Southwest’s violations of federal air-safety regulations came to light when
two FAA inspectors blew the whistle on Southwest’s too-cozy relationship with the FAA
field officials responsible for ensuring its compliance, Whistleblowers C. Bobby Boutris
and Douglas E. Peters disclosed to the United States Office of Special Counsel that
Douglas T. Gawadzinski, the former Supervisory Principal Maintenance Inspector
(SPMI) at the Southwest Airlines Certificate Management Office (Southwest CMO)
“violated FAA national policy and regulations governing the maintenance of aircraft by

airlines” See Statement of C. Bobby Boutros attached as Exhibit J; Statement of
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Douglas E. Peters, attached as Exhibit K. The United States Office of Special Counsel
investigated Boutri's’s and Peters’s claims and found a “substantial likelihood” that these
claims were true. See U.S. Office of Special. Counsel Report of Disclosures Referred F or
Investigation OSC FILE Nos. Dl-07-2793 and Dl-07-2868. ln the Special Counsel’s
words Southwest’s conduct “reflect[s] the cronyism that has infected the inspection
process and affected the attention given to safety issues as well as the commitment to
public safety at the core of the FAA’s mission.” See Exhibit B at 8.

57. Boutris worked in the field of aviation maintenance and inspection in the
private sector for approximately 20 years before joining the FAA in 1998. He began
working with the FAA as an Aviation Safety Inspector in the Dallas/Fort Worth Flight
Standards District Office. Boutris held several positions in that office eventually
becoming the Principal Maintenance lnspector for several air carriers In March 2003, he
requested and received an assignment to the SWA CMO and worked as one of the
maintenance Partial Program Managers (“PPM”) for the Boeing 737-700 fleet

58. Boutris and Peters disclosed that their supervisors FAA managers
blocked investigations of Southwest Airlines while colleagues leaked sensitive
information to the carrier regarding inspection schedules and potential investigations
which might curtail Southwest’s profit For example, FAA inspector Larry Collamore
(“Collamore”) was aware that the aircraft was not safe but failed to either challenge
Gawadszinksi’s plain violations of FAA safety policies and regulations or report the
safety issues Taking aircraft out of service to comply with FAA safety regulations
would have disrupted Southwest Airlines’ flight schedule. According to Boutris and

Peters, Southwest’s knowing and deliberate violations of FAA national policy and

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regulations has resulted in “chronic, systematic, and repetitive non-compliance
maintenance issues” These have been made worse by a too-close relationship between
Southwest and the FAA:

What is interesting here is that in reading this VDRP report under the
“INFORMATION OF THE PERSON PREPARING THE
COMPREHENSIVE FIX” for SWA, is the name Paul Comeau. Mr.
Comeau is an ex FAA Safety lnspector who was performing oversight
inspections for regulatory compliance issues regarding the SWA
Certificate at the SWA CMO with Mr. Gawadzinski. While working for
the FAA, Mr. Comeau accepted a job offer from SWA as the Manager of
Regulatory Compliance I believe that SWA knowingly hired Mr.

Comeau for his FAA connections with inspectors in our officea and to
their advantage placed him in the position that directly interfaces with
our office on a daily basis in regards to Regulatory Compliance issues

in dealing With aircraft maintenance

I questioned Mr. Comeau’s hiring by SWA, and l was told by Mr.
Gawadzinski that his hiring was cleared through our Regional Office, but
there is an ethics issue here, and as proven a conflict of interest The
Regional Uffice should have considered the importance of the position
that SWA hired Mr. Comeau for, and the impact on safety that might have

had . . . l believe the cozy relationship between Mr. Gawadzinski and

Mr. Comeau played a contributing factor and allowed the 47 aircraft
to remain in revenge service and operate in a manner that would provide

relief to schedule the AD overdue inspections at the SWA’s convenience
while flying paying passengers and without disrupting SWA’s flight
schedule l also believe this cozy relationship was the reason that SWA
hired Mr. Comeau for this position Mr. Comeau, being an ex-FAA
lnspector should have known that AD inspection requirements are
mandatory and address unsafe conditions they teach that to FAA
lnspectors at the Academy.

Ex. J. at 5-6 (Statement of C. Bobby Boutris) (emphasis added). Again:

The airlines take advantage of the customer service initiative and they
constantly remind us they are the customer. The best way to put it is like

you are going down the highway committing traffic violations and
jeopardizing the safety of others and when the police officer stops you

phil informs vou_that you are breaking the law by endangering
people’s lives yoi_i tell him that he ca_nnot document the violation
because you are`his customer. Iknow it sounds funny but this is as close
to an example as 1 can come up with.

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Id. at ll (emphasis added).
59. On February 6, 2008, the Chairman of the House Committee on
' Transportation and Infrastructure requested that the Inspector General for the Department
of Transportation investigate whether FAA’s Security and Hazardous Materials Division
thoroughly investigated this matter and took corrective actions in a timely manner. The
Chairman stated that Boutris and Peters provided detailed documentation showing that an v
FAA inspector, responsible for overseeing Southwest Airlines demonstrated extremely
poor judgment by allowing the air carrier to operate aircraft in revenue service Without
properly inspecting the aircraft for fuselage cracks According to Chairman Oberstar:

The Committee’s investigation uncovered a pattern of regulatory
abuse and widespread regulatory lilpses that allowed 117 aircraft to
be operated in commercial service despite being OUT OF
COMPLIANCE With Airworth_ihess Directives and other mandatory
inspections . . . so that Southwest could conveniently schedule them for
inspection without disrupting their commercial schedule These overflight
violations occurred after Southwest had self-disclosed to the FAA that it
had discovered that these planes were not in compliance The Southwest
disclosure claimed that the violations ceased upon the date of disclosure
and by Federal law these aircraft should have been grounded until they
were in compliance, but they continued to fly, with full knowledge of the
FAA supervisor for maintenance at Southwest. . . .

We have reason to believe t_here may have been more su_cl_r violatiog,
since there is strong evidence of systemic flaws in Southwest’s
Airworthiness Directive management systems A required
Airworthiness Directive Safety Attributes Inspection at Southwest, due in
2004, was not conducted until 2007, three years overdue . . .

Over pt least a 3-yea_r period prior to the overflights mentioLdabove.
the Director of the Regional Flight Standards Divisiona which oversees
the offices supervising Southwest. Americ§p, American Eagle.
Continental and other operators located in that region. was sent 38 e-

mails expressing concerns of inspectors that Southwest was not
keeping adequate records of its compliance with airworthiness

directives and required maintenance inspections Nothing was done,
and as a consequence neither Southwest nor FAA detected the airline’s
failure to conduct required fuselage inspections for 30 months The

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inspectors raising these issues were never given the dignity of any kind of
answer. . . .

Thank goodness that this is all happening BEFORE a fatal accident which
is as it should be, NOT AFTER a trag_edy`. Doubtless some will argue that
these compliance violations offered no serious threat to the flying public.
No crash happened no one died But that is an irresponsible argument lt
would be consistent with the “tombstone mentality” that l have been
fighting in FAA and other agencies my entire career.

Opening Statement Oversight Hearing, House Committee on Transportation and
Infrastructure (April 3, 2008) (emphasis added) (first ellipsis‘ in original), attached as
ExhibitM.

60. After conducting an internal investigation in March 2008, Southwest
switched from defending the airline’s maintenance practices to suspending three
maintenance employees and grounding aircraft to re-inspect them for possible cracks
Southwest found that 46 of its Boeing 737’s had to be inspected to comply with AD
2004-18-06. Southwest found cracks on roughly half a dozen of those aircraft
Southwest had previously disclosed to the FAA that it missed inspecting a small area
required by the AD, according to Southwest CEO Gary Kelly, and “the fix was agreed
upon with the FAA, and it was executed properly.”

3 61. Southwest hired former NTSB investigator Greg Feith (“Feith”) to consult
on the inspection problem. In a March 7 statement Feith said, “Based on the available
data and information reviewed, it is apparent that there was no risk to the flying public in
March 2007 while Southwest Airlines performed its program to re-inspect the small area
of aircraft fuselages identified in the AD inspection that was inadvertently missed.”

62. Despite Feith’s expert assessment paid for by Southwest the immediate

and broad actions taken by Congress, the U.S. Office of Special Counsel, the U.S.

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Inspector General, and the FAA paint a different picture As actions often do, these
speak louder than Southwest’s and Feith’s words - illuminating the serious and
potentially deadly consequences of Southwest’s deliberate safety violations Boutris
aptly articulates the point:

SWA is reporting that according to Boeing there was no safety issue
regarding the 47 aircraft that were flying passengers with the overdue AD
inspections in which six of them had cracks on the fuselage It is nice of
Boeihg to offer an opinion for tllir largest ci_i_stplner; however. if

aircraft manufacturers could predict accidents we would not have the
safety requirements of this AD today.

111 addition, consultants have been reporting that after reviewing the data
and due to the fact that the area of the fuselage that is affected by the AD
includes tear straps and bonded doublers in their opinion safety was not
jeopardized I am reporting to you that the only factual data that we have
is that the 47 aircraft were flying out of compliance for 30 months and six
of them had cracks on their fuselage and were allowed to fly in revenue
service with a known unsafe condition for an additional 8 days after the
date of discovery. I coi_ild i_rot in£gine what type of data the

consultants reviewed because there is no data that shows how long an
aircraft can fly out of compliance with multiple cracks on its fuselage

before it splits open. The documented proof we have is the Aloha
Airlines aircraft that lost the top of its fuselage in flight due to

_i_n_idetected cracks ai_id for the record that aircraft also had the tear
straps and bonded doublers that the consultants are referring to. In
addition, for the record, the existence of the tet_\r straps an_d bow
do_ublers was taken in consideration when the mandatory

requirements of this AD were established . . .

I am reporting to you that contacting Boeing for an opinioh or hiring a

consultant is not an`option because neither one has any authority over

the mandatory requirements of an AD, and that is the law. The
majority of the Ads are the result of catastrophic accidents and as the

industry saying goes “AD’s pre writter_r in blood.” I am very concerned
because these safety issues affect the lives of the flying public and
instead of being advocates for safety some people are still trying to
mud the water by downplaying this serious safety issue. The taxpayers
and the flying public deserve better and l hope the truth along with some
overdue changes come out of this hearing

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Ex. J at 9~10 (Statement of C. Bobby Boutris) (emphasis added). Southwest executive
chairman Herb Kelleher’s testimony highlights Boeing’s conflict of interest:

Boeing credits Southwest with single-handedly keeping the 737 assembly

line open on two separate occasions once during the Gulf War when oil

prices spiked and a deep recession diminished passenger traffic, and again
after 9/11. `

Statement of Herb Kelleher, attached as Exhibitl, at 2.

63. 0n the same day as Feith’s “no'risk to the flying public report”, Rep.
James Oberstar held a press conference in which he alleged, “Southwest Airlines with
FAA complicity, allowed at least 117 of its aircraft to fly with passengers in violation of
[FARs]. Forty-seven were overdue for required fuselage inspections and 70 were
overdue a mandatory inspection of critical rudder control systems.” Representative
Oberstar accused FAA management of complacency, “reflecting a pendulum swing away
from vigorous enforcement of compliance, toward a carrier-favorable cozy relationship.”
Representative Oberstar also noted that the “result of the [FAA] inspection failures and
enforcement of failure, has meant that aircraft have flown unsafe, unairworthy, and at risk
of lives.”

64. ‘ 3 On March 11, a national team of FAA inspectors began an Air Carrier
Evaluation Program review of Southwest Airlines’ AD management continuing analysis
and surveillance, and inspection programs Nicholas Sabatini, Associate Administrator
for Aviation Safety, directed his top 88 senior safety leaders from across the nation to
meet with their staffs to strongly review and reinforce ethical, managerial and operational
responsibilities in the regulatory process They were charged with communicating to all
staff the roles and responsibilities outlined in the regulatory process as it applies to airline

compliance and they were directed to review the importance of complying with national
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policies and processes to assure consistent application of the safety standards (FAA
Press Release, April 2, 2008)

65 . On March ll, the FAA began a national Air Carrier Evaluation Program
campaign that will focus on a review of the design and effectiveness of the air carrier
programs 2008; Beginning with Southwest Airlines FAA inspectors will verify
compliance with regulations regarding airworthiness directives inspection programs and
management of maintenance programs 2009 and beyond: The focus will be determined
by analysis of current conditions such as trends in surveillance outsourcing, or financial
conditions

66. On March 12, Acting FAA Administrator Robert A. Sturgell and his top
safety executives met with the senior leadership of Southwest Airlines Gary Kelly,
Southwest’s Chief Executive Officer and Vice Chairman of the Board, outlined the steps
the airline is taking to ensure its aircraft comply with all airworthiness directives He also
discussed the progress of reviews being conducted by Southwest’s maintenance staff and
the independent group hired by the airline During the meeting, Southwest Airlines
notified the FAA that as part of an internal safety audit they grounded 41 aircraft the
previous evening until they could verify with the FAA that they had correctly followed
inspection guidance stated in an AD related to a specific area of the aircraft surrounding
the windows on 737-300’s and -500’s

67. On March 13, the FAA initiated an audit of AD compliance at all 118 U.S.
air carriers The initial review was completed on March 28. lnspectors assessed air-
carrier compliance by auditing a sample of 10 ADs, including two directives (2002-07-08
and 2004-18-06) addressing fatigue cracking on certain Boeing 737s. lnspectors validated

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that air-carrier work instructions correctly described the method of compliance contained
in the 10 AD’s and, in addition, physically inspected the complete work package on at
least one aircraft lnspectors will complete a random sample of 10 percent of the AD’s
per carrier fleet by June 30. The agency will notify inspectors of an amendment to the
Voluntary Disclosure Reporting Program guidance to require that reports be submitted by
a senior airline official such as the Director of Safety; the Director of Operations or the
Director of Maintenance,

68. On March 14, the Aviation Safety Organization provided all supervisors
the specific chain of events and timeline from the Southwest incident to serve as a case
study for corrective actions by regulators management airlines and anyone with
supervisory or oversight responsibility

69. On March 18, Associate AdministratorSabatini conducted a town-hall
meeting for all 6,800 Aviation Safety employees to personally ask all safety and
inspection staff to redouble efforts to adhere strictly to all directives and guidelines as
well as to work- vigorously to manifest the benefits of the voluntary-reporting system,
which allows airlines to make voluntary, timely disclosures before there is any threat-or
likelihood of an impact to safety By June 30, the FAA will start a rulemaking project to
address ethics policies that enhance inspector post-employment restrictions bringing
them in line, or possibly exceeding, existing restrictions for other federal employees

l Currently, FAA prohibits new inspectors who are hired from an airline from overseeing
that airline for a period of two years

70. The Aviation Safety Organization has designed and will deploy the Safety
Issues Reporting System (SIRS) by April 30. The new system will allow an employee to

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document and escalate a safety issue to their supervisor/manager or escalate the safety
issue directly to headquarters if they believe the issue needs immediate attention SIRS
will supplement resources already available to employees such as the Administrator’s
Hotline and the Safety Hotline The Aviation Safety Organization is working with the

' manufacturers and air carriers to develop a system to assure that ADs are written clearly
and can be implemented by the industry '

71. By June 30, the Aviation Safety Organization will survey all employees to
assess the effectiveness of workplace communications values and guiding principles
On August 25, the`Aviation Safety Organization will convene a meeting of more than
700 managers to discuss the survey results and develop detailed action plans Based on
the survey results managers will look towards the creation of enhanced training or
communications projects that will supplement existing programs By September 30, the
Aviation Safety Organization will add a module to the training course for new managers
on leadership, accountability and expectations

CAUSES OF ACTION
I. Breach of Express Warranty

72. Plaintiffs incorporate all allegations made in this First Amended
Complaint as if repeated in fullhere.

73. The elements of a breach-of-warranty claim are: (1) the defendant sold
services to the plaintiff; (2) the defendant made a representation to the plaintiff about the
quality or characteristics of the services by (a) affirmation of fact (b) promise, or (c)
description; (3) the representation became part of the basis of the bargain; (4) the
defendant breached the warranty; and (5) the plaintiff suffered injury See, e.g.,

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Southwestern Bel_l Telephone Co. v. FDP Corp., 811 S.W.2d 572, 576, 576 n.3 (Tex.
1991) (typical of state laws). Each of these elements is present here. The contract
between Southwest and its passengers does not require demand upon breach of warranty.
Therefore, demand by the passengers is not an element of a breach-of-warranty action by
them.

74. First, Southwest sold the service of air travel on its aircraft to Kleiner and
the class members In particular, Southwest sold the service of air travel on safe aircraft
that legally could fly in the United States.

75. Second, Southwest warranted that the travel it sold was in compliance
with federal air-safety regulations Southwest’s “Sixth Amended Contract of Carriage -»

Passenger,” attached as Exhibit C, provides:

125. Compliance with Law and Governmental Regulations (Issued Mar.
13, 2000; Effective Mar. 13, 2000)

All transportation is sold and all carriage is performed subject to
compliance With all applicable laws and governmental regulations,
including those of the U.S. Department of Transportation, the Federal
Aviation Administration, and the Transportation Security Administration,
many of which are not specified herein but are nonetheless binding on
Carrier and all passengers

Ex. C at 35. This is a non-negotiable form contract of adhesion drafted entirely by
Southwest and offered to passengers on a take-it-or-leave-it basis. Paragraph 125
constitutes an affirmation of the fact that “[a]ll carriage is performed subject to
compliance with all applicable laws and governmental regulations,” a promise to the
same effect, and a description of “[a]ll transportation” and “all carriage” _ namely, that
all transportation and carriage are in “compliance with all applicable laws and

governmental regulations.” Importantly, “It is not necessary to the creation of an express

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warranty that the seller use formal words such as ‘warrant’ or ‘guarantee’ or that the
seller have a specific intention to make a warranty.” Southwestern Bell, 811 S.W.Zd at
576 n.3.

76. Third, this warranty became part of the basis for the bargain between
Southwest and its passengers because it goes to a subject that is objectively central to the
bargain _ whether Southwest could legally perform it, since Southwest could only
legally fly aircraft in compliance with federal air-safety regulations, and whether it would
be safe for the passengers to fly on Southwest’s aircraft - and concerns facts under the
unique possession and control of the warrantor, Southwest _ namely,` whether Southwest
institutes and follows a maintenance program that ensures compliance with federal air-
safety regulations Moreover, Southwest’s warranty was a basis for the bargain because
it was an inseparable part of the bargain, included in the Contract of Carriage that
constituted and documented the bargain Southwest’s warranty does not depend on any
extra-contractual statement and, therefore, there can be no doubt that it is part of the basis
of the bargain

77. Fourth, Southwest breached this warranty by transporting passengers in
aircraft with respect to which, as described above, Southwest violated federal air-safety
regulations and laws f

78. Fifth, this breach damaged Southwest’s passengers because they paid for
safe and legal flights, but received unsafe or illegal flights instead, and safe and legal
flights have a higher fair market value than unsafe or illegal flights Southwest’s
passengers overpaid because they paid for compliance with Southwest’s warranty but did

not receive it. The measure of these damages is the difference in fair market value

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between the unsafe or illegal transportation that Southwest provided and the safe and
legal transportation that Southwest promised Moreover, the value of transportation on
unsafe or illegal planes is zero; the measure of damages is therefore the full price
Southwest’s passengers paid. This is because no one would have (orcould have, since
flying the aircraftwould have been illegal) flown Southwest had Southwest revealed that
it was violating federal air-safety regulations

II. Texas Deceptive Trade Practices Act

79. Plaintiffs incorporate all allegations made in this First Amended
Complaint as if repeated in full here.

80. Southwest’s breach of its express warranty of compliance`with applicable
federal air-safety regulations by flying planes that, under these safety regulations, should
have been grounded violates the DTPA because (l) Kleiner and the class members are
consumers who (2) sought or acquired services by purchase from Southwest, (3)
Southwest’s acts constitute breach of an express warranty and an unconscionable action
or course of action, and (4) Southwest’s actions were a producing cause of the damages
described infra, at paras 87 - 94 (section entitled “DAMAGES”). See Tex. Bus. &
Comm. Code §§ 17.41-17.63; Amstadt v. U.S. Brass Corp., 919 S.W.Zd 644, 649 (Tex.
1996) (stating elements).

81. Kleiner is a consumer because he is an individual and purchased travel
from Southwest for a non-commercial, non-business use. See id. §§ l7.45(4), 17.45(10)
(defining consumer and business consumer). The class members are consumers for the
same reason or because, although they purchased travel for a commercial or business use,
they have less than $25 million in assets and are not controlled by an entity with at least

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$25 million in assets Alternatively, for purposes of this claim, Kleiner seeks to represent
a subclass composed of those class members who qualify as consumers under the DTPA.

82. Kleiner and the class members sought or acquired services by purchase
from Southwest. Tex. Bus. & Comm. Code § 17.45(4). In particular, they purchased
travel on Southwest aircraft that Southwest warranted were in full compliance with
applicable federal air-safety regulations To the exent that Kleiner and the class members
had the services acquired for them by another, because the primary purpose of the
acquisition was to benefit Kleiner or the class member, Kleiner and the class members
are still “consumers” for purposes of the DTPA. Arthur Andersen & Co. v. Perry Equz`p. y
Corp., 945 S.W.Zd 812, 815 (Tex. 1997); Clark Equip. Co. v. Pitnere, 923,S.W.2d ll7,
127-28 (Tex. App.--Houston [14th Dist.]/ 1996). Thus, even those class members who
purchased tickets through a purchasing agency, ticket agent, or other intermediary qualify
as plaintiffs under the DTPA.

83. The DTPA allows Kleiner and the class to bring an action against any
person who uses or employs false, misleading, or deceptive acts or practices These acts
or practices include Southwest’s breaching its express warranty of compliance with all
applicable federal air-safety regulations and, independently, its flying passengers on
unsafe or illegal aircraft in violation of federal air-safety regulations Tex. Bus. &
Comm. Code 17.50(a)(l); Miller v. Keyser, 90 S.W.3d 712, 715 (Tex. 2002). Southwest
breached an express warranty as described above. See paras 72 - 78, supra (Breach of
Express Warranty). Southwest is a “person” for purposes of the DTPA because it is a
corporation or other group, however organized Tex. Bus. & Comm. Code 17.45(3);
Miller, 90 S.W.3d at 715. Southwest’s deceptive acts or practices were committed in

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connection with the transactions between Kleiner and the class members and Southwest
in purchasing Southwest’s air-travel services7 Amsladt v. U.S. Brass Corp., 919 S.W.2d
644, 650 (Tex. 1996), and were inextricably intertwined with these consumer
transactions, Qantel Bus. Sys. v. Custom Controls Co., 761 S.W.Zd 302, 305 (Tex. 1988).
This is because the safety and legality of Southwest’s aircraft goes to the core of the
bargain between Kleiner and the class members and Southwest and because Southwest
made its warranty of compliance with all applicable federal air-safety regulations in its
form Contract of Carriage between Kleiner and the class membersand Southwest.

84. Southwest also engaged in an unconscionable action or course of action.
Tex. Bus. Com. Code 17.50(a)(3). Southwest’s actions were unconscionable because
they were to Kleiner’s and the class members’ detriment and took advantage of Kleiner’s
and the class members’ lack of knowledge, ability, experience, or capacity to a grossly
unfair degree. Tex. Bus. & Com. Code 17.45 (5); Latham v. Castillo, 972 S.W.Zd 66, 68
(Tex. 1988). The resulting unfairness was glaringly noticeable, flagrant, complete, and
unmitigated. Bradford v. Vento, 48 S.W.3d 749, 760 (Tex. 2001). Whether Southwest `
complied with federal air-safety regulations was entirely in Southwest’s control; Kleiner
and the class members had no way of verifying Southwest’s compliance other than by
relying on Southwest’s obligation to obey federal law and its express warranty to them
that it would do so. Kleiner and class members need not prove intent, reliance, or any
specific representation Ins. C0. of N. Am. v. Morris, 981 S.W.2d 667, 677 (Tex. 1998)
(intent not necessary); Mays v. Pierce, 203 S.W.3d 564, 572 (Tex. App.--Houston [14th
Dist.] 2006, pet. denied) (reliance not necessary); Monsanto Co. v, Altman, 153 S.W.3d
491, 495 (Tex. App.--Amarillo 2004, pet. denied) (reliance not necessary); Teague v.

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Bandy, 793 S.W.2d 50, 54 (Tex. App.--Austin 1990,writ denied) (specific representation
not necessary). Southwest’s unconscionable act or practice occurred within the context
of the sale of services and was in connection with Kleiner’s transactions as well as those
of the class members

85. Southwest’s flying unsafe or illegal flights was the producing cause of
Kleiner’s economic damages set out above and below, including in the section entitled
“DAMAGES,” because these damages constitute the difference in value between
Southwest’s services as promised, safe and legal flights and Southwest’s services as
Southwest delivered them, unsafe or illegal flights and this difference in value arose only
because Southwest breached its warranty by delivering unsafe or illegal flights instead of
safe and legal ones Southwest’s acts Were both a cause-in-fact and asubstantial factor in
causing Kleiner’s and the class members’ injuries Alexander v. Turner & Assocs., 146
S.W.3d 113, 117 (Tex. 2004). Kleiner and the class members suffered economic
damages including out-of-pocket damages benefit-of-the-bargain damages and
compensatory damages for pecuniary loss See paras 87 - 94, infra.

86. These economic damages should be trebled because Southwest knowingly
violated the DTPA in that it was aware that its maintenance program did not ensure its
compliance with federal air-safety regulations Tex. Bus. & Comm. Code § l7.50(b)(1).
A successful consumer can recover treble economic damages as found by the trier of fact
_ here, the jury:

(b) In a suit filed under this section, each consumer who prevails may
obtain:

(1) the amount of economic damages found by the trier of fact.
If the trier of fact finds that the conduct of the defendant was

committed knowingly, the consumer may also recover damages for
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mental anguish, as found by the trier of fact, and the trier of fact may
award not more than three times the amount of economic damag_e§; or
if the trier of fact finds the conduct was committed intentionally, the
consumer may recover damages for mental anguish, as found by the trier
of fact, and the trier of fact may award not more than three times the
amount of damages for mental anguish and economic damages

(2) an order enjoining such acts or failure to act;

Id. § 17.50(b) (emphasis added). Southwest committed a knowing violation because, at
the time of the act or practice made the subject of Plaintiffs Amended Complaint,
Southwest acted with actual awareness of the falsity, deception, or unfairness of the act or
practice. Tex. Bus. & Comm. Code 17.45(9). Southwest also committed a knowing
violation because it acted with actual awareness of the act, practice, condition, defect, or
failure that constituted the breach of warranty. Tex. Bus. & Comm. Code 17.45(9).
Actual awareness can and should be inferred when objective manifestations indicate that
Southwest acted with actual awareness Tex. Bus. & Comm. Code 17.45(9); St. Paul
Surplus Lines lns. Co. v. Dal- Worlh Tank Co., 974 S.W.2d 51, 53 (Tex. 1998). Kleiner
and the class members also seek all equitable relief under the DTPA, including an order
“enjoining an act or failure to act,” Tex. Bus. & Comm. Code § 17.50(b)(2)), by
Southwest, as well as an order to restore money acquired from Kleiner and the class
members in violation of the DTPA. Tex. Bus. & Comm. Code l7.50(b)(3).
DAMAGES

87. Plaintiffs incorporate all allegations made in this First Amended
Complaint as if repeated in full here.

88. Kleiner and the class members suffered actual damages - including
benefit-of-the-bargain damages out-of-pocket damages diminution-in-value damages

and overpayment damages _ in that they paid for a service of a certain value, travel on
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safe and legal aircraft, and received instead a service of lesser value, travel on unsafe or
illegal aircraft. And they did so in a contractual context in which the service provider,
Southwest, expressly warranted the feature of the service that gave rise to this difference
in value, namely, Southwest’s compliance with federal air-safety regulations Cf
Trustees of the Norlhwest Laund)'j) & Dry _Cleaners Heallh & Welfare Trusl Funa' v.
Burzynski, 27 F.3d 153, 157-60 (5th Cir. 2004) (affirming plaintiffs summary judgment
awarding full price of medical services as actual damages where doctor failed to disclose
that services were illegal).

b 89. The Fifth Circuit has repeatedly held that damages like these are
recoverable on a breach-of-warranty theory. Just last year, the Fifth Circuit held that
purchasers of allegedly defective Cadillac DeVilles had constitutional standing to sue for
just the sort of damages that Kleiner and the class members here seek. “Plaintiffs seek
recovery for their actual economic harm (e.g., overpayment . . .) emanating from the loss
of their benefit of the bargain Notably in this case, plaintiffs may bring claims under a
contract theory based on the express . . . warranties they allege. . . . We therefore
conclude that plaintiffs have established a concrete injury in fact and have standing to
pursue this class action.” Cole v. General Molors Corpf., 484 F.3d 717,4722-23 (5th Cir.
2007). Cole held that diminution in value or overpayment constitutes a cognizable injury
on a breach-of-warranty claim,

90. Chief Judge Jones, joined by Judges Jolly and Smith, addressed the
damages question squarely for the Fifth Circuit in 2001. See Coghlan v. Wellcraft
Marine Corp., 240-F.3d 449, 452 (5th Cir. 2001). The Fifth Circuit emphasizedthat the
difference-in-value damages that Kleiner and the class members seek in this case are

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